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                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 OWNER-OPERATOR INDEPENDENT
 DRIVERS ASSOCIATION, INC., et al.,
           Plaintiffs,                                    MEMORANDUM DECISION AND
                                                          ORDER DENYING PLAINTIFFS’
                                                          MOTION TO EXCLUDE ALL SET-
                                                          OFFS AND PLAINTIFFS’ MOTION
                                                          TO COMPEL DEFENDANT THE
                                                          RETURN OF ICOA ESCROW
                                                          FUNDS TO CLASS MEMBERS


                   vs.


 C.R. ENGLAND, INC.,                                      Case No. 2:02-CV-950 TS
           Defendant.



       The Court has before it Plaintiffs’ Motion to Exclude All Set-offs Asserted by Defendant

Against Plaintiffs and Individual Class Members1 and Plaintiffs’ Motion to Compel Defendant

the Return of ICOA Escrow Funds to Class Members.2 Although each Motion seeks different

relief, both Motions ask this Court to adopt the Sixth Circuit’s recent holding in In re Arctic

Express, Inc. 3 that escrow funds created under 49 C.F.R. § 376.12(k) constitute a statutory trust

for the benefit of owner-operators and, as such, may only be set-off by those set-offs expressly

provided for in the ICOA.

       1
           Docket No. 514.
       2
           Docket No. 517.
       3
           636 F.3d 781 (6th Cir. 2011).
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        Although not so captioned, Plaintiffs’ Motions implicitly ask this Court to reconsider two

prior findings: (1) that equity requires Plaintiffs’ individual damage award to be offset by “debts

legitimately owed to Defendant by individual Plaintiffs”4 and (2) that Plaintiffs failed to try, and

have thus waived, the argument that there had to be a separate accounting and a return of funds at

the termination of the ICOA with the replacement of the RICOA.5 Plaintiffs apparently believe

that reconsideration is warranted by the recent announcement of the Sixth Circuit’s Arctic

decision.

        As noted by the Tenth Circuit, “every order short of a final decree is subject to reopening

at the discretion of the district judge.”6 And although this inherent power to review is informed

by the long-standing rule that an issue decided should remain decided, this “rule is a flexible one

that allows courts to depart from erroneous prior rulings, as the underlying policy of the rule is

one of efficiency, not restraint of judicial power.”7 “Courts have recognized the general

proposition that the decision whether to reconsider an earlier ruling is properly affected by the

stage the proceeding has reached.”8 “Post-trial rulings are less likely to be reconsidered than

earlier rulings.”9



        4
            Docket No. 358, at 4-5.
        5
            Docket No. 528, Ex C, at 7-9.
        6
         Elephant Butte Irrigation Dist. v. U.S. Dep’t of Interior, 538 F.3d 1299, 1306 (10th Cir.
2008) (internal quotation marks and citation omitted); see also Fed.R.Civ.P. 54(b)(“[A]ny order
..., however designated, which adjudicates fewer than all the claims or the rights and liabilities of
fewer than all the parties ... may be revised at any time before the entry of judgment adjudicating
all the claims and the rights and liabilities of all the parties.”).
        7
            Prairie Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 823 (10th Cir. 2007).
        8
            WRIGHT & MILLER, FED . PRAC. & PROC. § 4478.1 (2011).
        9
            Id.
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       In moving for relief, Plaintiffs rely heavily upon a recent Sixth Circuit decision that

allegedly supports its previously rejected positions that Defendant is not entitled to any set-offs

under the ICOA and that Defendant was required to return all escrow funds within 45 days of the

termination of the ICOA. Plaintiffs contend that the Arctic decision is the first circuit level

decision to adopt the argument that escrow funds created under 49 C.F.R. § 376.12(k) constitute

a statutory trust for the benefit of owner-operators and must, therefore, be handled in strict

compliance with the regulations and the express terms of the ICOA.

       The Court finds that the Arctic decision fails to present the decisive and persuasive value

ascribed to it by Plaintiffs. Although the Arctic decision is the first of its kind from a circuit

court, the Sixth Circuit’s Arctic decision adopts and affirms the reasoning of the district

court—which reasoning was previously fully briefed to this Court but was ultimately rejected as

unpersuasive.

       Moreover, as stated previously by this Court, to allow Plaintiffs to exclude all set-offs for

debts legitimately incurred would inequitably allow Plaintiffs to avoid just debts.10 “To allow

Plaintiffs to avoid legitimate debts to Defendant would be to impose punitive damages on

Defendant and result in an unjustifiable windfall to Plaintiffs.”11

       Plaintiffs have failed to demonstrate that the Court’s prior ruling rejecting these

contentions was in error. It is therefore,

       ORDERED that Plaintiffs’ Motion to Exclude All Set-offs Asserted by Defendant

Against Plaintiffs and Individual Class Members (Docket No. 514) and Plaintiffs’ Motion to




       10
            Docket No. 358, at 4-5.
       11
            Id.
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Compel Defendant the Return of ICOA Escrow Funds to Class Members (Docket No. 517) are

DENIED.

      The hearing set for August 26, 2011, is VACATED.

      DATED August 9, 2011.

                                        BY THE COURT:


                                        _____________________________________
                                        TED STEWART
                                        United States District Judge




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